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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA

Vv. Criminal No. 21- 3.
AMY BORTOT [UNDER SEAL]
ARRAIGNMENT PLEA
Defendant AMY BORTOT

being arraigned, pleads Ne t Ge A / He
in open Court this z jt — day of
Aa YY ot 2 Zt

Ain, Beare

« (Defendant’s Signature)

Gna Ooi

(Attorney for Defendant)

 

 

 
